     Case 2:20-cv-00534-JAD-DJA Document 16
                                         12 Filed 05/05/20
                                                  05/04/20 Page 1 of 2



 1   Mark E. Ferrario (Nevada Bar No. 1625)
     GREENBERG TRAURIG, LLP
 2   10845 Griffith Peak Drive
     Suite 600
 3
     Las Vegas, NV 89135
 4   Telephone: (702) 938-6870
     Facsimile: (702) 792-9002
 5   Email: ferrariom@gtlaw.com

 6   Casie D. Collignon (pro hac vice forthcoming)
     Matthew D. Pearson (pro hac vice forthcoming)
 7
     BAKER & HOSTETLER LLP
 8   1801 California Street, Suite 4400
     Denver, Colorado 80202
 9   Telephone:     (303) 861-0600
     Facsimile:     (303) 861-7805
10

11   Attorneys for Defendant

12                               UNITED STATES DISTRICT COURT
13
                                          DISTRICT OF NEVADA
14

15    JENNIFER MIRANDA and PATRICIA                    Case No.: 20-cv-00534-JAD-DJA
      TERRY, on behalf of themselves and all
16    others similarly situated,
                                                            STIPULATION AND ORDER
17                          Plaintiffs,                       EXTENDING TIME FOR
                                                           DEFENDANTS TO RESPOND TO
18
                            v.                            PLAINTIFFS’ COMPLAINT [ECF 2]
19
      GOLDEN ENTERTAINMENT (NV), INC.,                               (Second Request)
20
                            Defendant.
21

22

23           Pursuant to Local Rules IA 6-1 and 7-1, Defendant Golden Entertainment (NV), Inc.

24   (“Defendant”) and Plaintiffs Jennifer Miranda and Patricia Terry (collectively, “Plaintiffs”),

25   hereby stipulate, agree, and respectfully request that the Court extend the deadline for Defendant

26   to answer or otherwise respond to Plaintiffs’ Complaint from May 8, 2020 to May 22, 2020.

27

28


     ACTIVE 50289840v1
     Case 2:20-cv-00534-JAD-DJA Document 16
                                         12 Filed 05/05/20
                                                  05/04/20 Page 2 of 2



 1            The request is being made to allow the parties to explore early resolution of the case and

 2   is not for purposes of delay. This is the second request by the parties.

 3    DATED this 4th day of May, 2020                  DATED this 4th day of May, 2020

 4    WOLF, RIFKIN, SHAPIRO, SCHULMAN                  GREENBERG TRAURIG, LLP
      & RABKIN, LLP
 5

 6   By: /s/ Don Springmeyer                           By: /s/ Mark E. Ferrario
         Don Springmeyer (SBN 1021)                        Mark E. Ferrario (Nevada Bar No. 1625)
 7       Daniel Bravo (SBN 13078)                          10845 Griffith Peak Drive, Suite 600
         A. Jill Guingcangco (SBN 14717)                   Las Vegas, NV 89135
 8       3556 E. Russell Road, 2nd Floor                   Tel: (702) 938-6870
         Las Vegas, NV 89120                               Fax: (702) 792-9002
 9
         Tel: (702) 341-5200                               ferrariom@gtlaw.com
10       Fax: (702) 341-5300
         dspringermeyer@wrslawyers.com                      Attorneys for Defendant
11       dbravo@wrslawyers.com
         ajg@wrslawyers.com
12

13       Yitzchak Kopel
         Max S. Roberts
14       BURSOR & FISHER, PA
         888 Seventh Avenue, Third Floor
15       New York, NY 10019
         Tel: (646) 837-7150
16       Fax: (212) 989-9163
17
         Attorneys for Plaintiffs
18

19                                                 IT IS SO ORDERED:
20

21
                                                   UNITED
                                                   UNITED STATES
                                                          STATESDISTRICT JUDGE
                                                                  MAGISTRATE JUDGE
22
                                                   DATED: May 5, 2020
23

24

25

26

27

28                                               Page 2 of 3
     4843-4398-0731.2

     ACTIVE 50289840v1
